                  Case 4:04-cr-40039-JPG                   Document 602 Filed 12/27/06                  Page 1 of 6         Page ID
% A 0 24SB       (Rev.06/05) Judgment in a Criminal Case             #1343
                 Sheet l




                              SOUTHERN                             District of                                 ILLINOIS

               UNITED STATES OF AMERICA                                  JUDGMENT IN A CRIMINAL CASE
                                 v.
                      KESHA A. McCAY
                                                                         Case Number:          4:04CR40039-011-JPG

                                                                         USM Number:           06821 -025

                                                                           Michael Rousseau
                                                                          Defendant's Attorney
THE DEFENDANT:
upleaded guilty to count(s)
[7 pleaded nolo contendere to count(s)
                                        1 and 5 of the Fourth Superseding Indictment                             DFr? 7 7
                                                                                                            CLERK. U.S. oI
                                                                                                                               -=
   which was accepted by the court.                                                                       suuTHERN DlsTR=ls
                                                                                                                 BENTON OFFICE
    was found guilty on count(s)
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:


 .*<,;       .
'l'itle & Section
           ' -
         '%'
                 . . Nature of Offe~~se
               ,%,..
..21:,~%$. a*. , i.;..,,
                                  :         .C',";
                      c & ~ ~ / & ~ t om n u f h r i t ; ~ossssswith ~ntsntto ~&l;i:bWte
                       ,, .                      .   ,
                                                                                         Offense Ended
                                                                                          5taiBw5                               .T'
                                                                                                                                      ('ount
                                                                                                                                        I@:,.,.
                                                                                                                                          ...,    ,
                                                                                                                                                  .
                                      500 Grams or More of a Mixture Containina Meth



       The defendant is sentenced as provided in pages 2 through             10           of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)
     Count(s)                                                 is      are dismissed on the motion of the United States.

                                                                      anomey for this district within 30 da s of any chat1 re of name, residence,
         It is ordered that the dcfend3nt must notify the Cnited St~tes
orrnall~ngaddress unul+11tines, restliut~on,costs, and specral azsessnients ~mposedby th~sludgmentare fufiy p a ~ dlforkred to pay restitution,
the defendant must notify the coun and Un~tedStates attorne) of inater~alchanges in economic circumstances.




                                                                           J . Phil Gilbert                            District Judge
                                                                          Name of Judge                               Title ofludge
                                                                            n
                   Case 4:04-cr-40039-JPG                 Document 602 Filed 12/27/06                     Page 2 of 6      Page ID
A 0 2458        (Rev. 06/05) Judgment in Criminal Case              #1344


 DEFENDANT: KESHA A. M ~ C A Y
                                                                                                          Judgment- Page   -
                                                                                                                           2    of   10

 CASE NUMBER: 4:04CR40039-OI I-JPG


                                                                 IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  240 months on Counts 1 and 5 of the Fourth Superseding Indictment. All Counts to run concurrent with each other.




      @ The court makes the following recommendations to the Bureau of Prisons:
  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

                   at                                     a.m.         p.m.     on
                   as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                   before 2 p.m. on
                   as notified by the United States Marshal.

           IJ      as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at                                                      , with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL


                                                                               BY
                                                                                                     DEPUTY UNITED STATES MARSHAL
                 Case 4:04-cr-40039-JPG                 Document 602 Filed 12/27/06                     Page 3 of 6         Page ID
A 0 Z45B     (Rev.06105) Judgment in a Criminal Case
                                                                  #1345
             Sheet 3 -Supervised   Release
                                                                                                           Judgment-Page      3     of          10
 DEFENDANT: KESHA A. M ~ C A Y
 CASE NUMBER: 4:04CR40039-011-JPG
                                                        SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of :

 10 years (10 years on Count 1 and 3 years on Count 5 of the Fourth Superseding Indictment) All Counts to run concurrent
 with each other.


      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Pnsons.
 The defendant shall not commit another federal, state or local crime.
 Thc defendant shall not unlawiull pos~cssa controlled substance. The defendant shall rcfra~nfrom any unl3wft1l use of a controlled
 substance. Ihu defendant shall su$mit ;o one drug test within 15 days of release irom impnsonnlent and at least trio per~odicdrug test,
 thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 &( The defendant shall not possess a faearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 &( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'udgment imposes a fee or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of thls judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, d~stribute,or administer any
           controlled substance or any paraphemaha related to any controlled substances, except as prescr~bedby a phys~c~an;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the profation officer;
           the defendant shall permit a probation off~certo visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probatlon officer;
           the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as d~rectudby the robation ofticer, the defendant shall notify third panles oir~sksthat may hc occas~onedby lhs defendant's cr~nilnal
           record or personay history, or charastcr~sticsand shall p e n t the probatlon officer to make such nottficatioiis and to confirm the
           defendant s cornpl~anccw~th~ u c hnot~ficationrequirement.
A 0 2458    Case
           (Rev.     4:04-cr-40039-JPG
                 06105) Judgment in a Criminal Case   Document 602 Filed 12/27/06         Page 4 of 6        Page ID
           Sheet 3C - Supervised Release                        #1346
                                                                                             Judgment-Page    4     of      10
DEFENDANT: KESHA A. McCAY
CASE NUMBER: 4:04~~40039-011-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer,

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

  X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
  commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
  ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

  X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
  dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
  residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
  alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
  based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
  costs of counseling.

   X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
  time as the defendant is released from the program by the probation officer.

  X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
A 0 2458             Case
                   (Rev. 06105)4:04-cr-40039-JPG
                                Judgment in a Criminal Case   Document 602 Filed 12/27/06                        Page 5 of 6             Page ID
                   Sheet 5 -Criminal Monetary Penalties                 #1347
                                                                                                                                  5
 DEFENDANT: KESHA A. McCAY
                                                                                                             Judgment - Page
                                                                                                                                  - of                      10

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                                        11
                                                         CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                             Assessment                                       -
                                                                              Fine                                   Restitution
 TOTALS                    $ 200.00                                         $ 200.00                               $ 0.00



      The determination of restitution is deferred until        -. An Amended Judgment in a Criminal Case ( A 0 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise jn
      the priority order or percentage payment colnmn%elow. However, pursuant to 18 8 s . E . 5 36640, all nonfederal vlctlms must be p a ~ d
      before the United States is pa~d.

 Kame of Pavee                                                                  Total*                Restitution Ordcrcd             Priority or Pereentagg
              .,                                   . .                                                                                                       . ..
 ' . . , . ,                                                                                                                                 .. , ,   .. '.A<<.,"
                                                                                                                                                          ..
    %,.-,.w'..,,                                                                                                        ,   .   , ,     /,     '




 TOTALS                                      $                      0.00            $                       0.00


        Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 @f The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    @f the interest requirement is waived for the I;d fine            restitution.
                   the interest requirement for the           fme          restitution is modified as follows:


 * Findings for the total amount of losses are re uiredunder Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Apnl23, 1998.
A 0 2458     Case
           (Rev. 06/03,4:04-cr-40039-JPG
                         Judement in a Criminal Case   Document 602 Filed 12/27/06                   Page 6 of 6          Page ID
           Sheet 6 S c h e d u l e of Payments                   #1348
                                                                                                         Judgment-Page       6     of        10
DEFENDANT: K E S W A. McCAY
CASE NUMBER: 4:04CR40039-OI I-JPG

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A    @ Lump sum payment of $                                due immediately, balance due

                 not later than                                  , 01
                 in accordance                C,        D,         E, or         F below; or

 B         Payment to begin immediately (may be combined with               C,          D, or        F below); or

 C         Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D         Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    @ Special instructions regarding the payment of criminal monetary penalties:
            While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
            of her net monthly income, whichever is greater, toward her fine.




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a ent of criminal monetary penalties is due durin
 imprisonment. All cnminarmonet          penalties, except those payments made througg E F e d e r a l Bureau of Pnsons' Inmate FmanclJ
 Responsibility Program are made t o x e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) f i e interest, (6) community restitution, (7)penalties, and (8) costs, icludmg cost of prosecution and court costs.
